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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

GARY ALAN SHOUPE,

             Plaintiff,

v.                                                            No. CV 20-503 BRB/CG

UNITED STATES OF AMERICA,

             Defendant.


                ORDER RESETTING ZOOM SETTLEMENT CONFERENCE

      THIS MATTER is before the Court after conferring with counsel. To facilitate a final

disposition of this case, a mandatory settlement conference will be conducted in accordance

with Federal Rule of Civil Procedure 16(a)(5). Due to the ongoing uncertainty created by the

Covid-19 pandemic, and the likelihood that the need for social distancing will continue

through the date of the scheduled settlement conference in this case, the Court will hold the

upcoming settlement conference via Zoom.

      IT IS HEREBY ORDERED that the previously scheduled Zoom settlement conference

set for Monday, March 15, 2021 is RESET for Tuesday, April 20, 2021, at 9:00 a.m. A

telephonic status conference will be held on Monday, April 12, 2021, at 2:00 p.m., to

discuss the parties’ positions, as set forth in the Court’s Order Resetting Telephonic Pre-

Settlement Status Conference, (Doc. 34).

      IT IS FURTHER ORDERED that the parties and a designated representative, other

than counsel of record, with full authority to resolve the case, must attend via Zoom; counsel

who will try the case must also attend via Zoom. All attorneys and parties involved in the

settlement conference must treat as confidential the information discussed, positions taken,
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and offers made by other participants in preparation for and during the conference.1

      IT IS FURTHER ORDERED that:

      1. By March 22, 2021, Plaintiff’s counsel shall serve on Defendant’s counsel a
         concise letter that sets forth a settlement demand itemizing the principle supporting
         damages or other relief that Plaintiff asserts would appropriately be granted at trial.

      2. By March 29, 2021, Defendant’s counsel shall serve on Plaintiff’s counsel a
         concise letter that sets forth a response to the settlement demand.

      3. By April 5, 2021, each party shall provide to the Court:

             a. A copy of each letter that was sent to an opposing party;

             b. A confidential, concise letter containing an analysis of the strengths and
                weaknesses of its case; and

             c. Any video or audio recordings of the incident upon which this action is
                based.

             d. This letter should also contain the email addresses and phone
                numbers for all participants in the settlement conference. This contact
                information will be used to send the invitation to attend the settlement
                conference via Zoom.

          These materials may be submitted to the Court by email:
          garzaschambers@nmd.uscourts.gov

      4. Each of these letters typically should be five (5) pages or fewer, and counsel will
         ensure that each party reads the opposing party’s letter before the settlement
         conference.

      5. Before April 12, 2021, counsel shall confer with one another about their clients’
         respective positions.

      6. On April 12, 2021, at 2:00 p.m., counsel shall call Judge Garza’s AT&T line at
         (877) 810-9415, follow the prompts, and enter access code 7467959, for a pre-
         settlement telephonic status conference

      A party must show good cause to vacate or reschedule the settlement conference.




       1.     This does not prohibit disclosures stipulated to by the parties, necessary in
proceedings to determine the existence of a binding settlement agreement, or as otherwise
required by law.

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Any such request must provide the Court with sufficient notice to ensure that other matters

may be scheduled in the time allotted for the settlement conference.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




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